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District of Gahanna Gort of Appeals

Committee on Admissions
430 & Street, NA. — Room 123
Washington, B.C. 20001

202/879-2710

J, JULIO A. CASTILLO, Clerk of the District of Columbia Court

of Appeals, do hereby certify that

DAVID THOMPSON
wason APRIL 1,1996 duly qualified and admitted as an
attorney and counselor entitled to practice before this Court and is,
on the date indicated below, an active member in good standing of

this Bar.

In Testimony Whereof, I have
hereunto subscribed my name
and affixed the seat of this Court
at the City of Washington, D.C,
on DECEMBER 11, 2017.

By: ch LED

~~ Deputy Clerk
